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                 EXHIBIT B-088
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurncy
Boris Epshteyn                                )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.


       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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    related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is

    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Boris Epshteyn, born August 14, 1982, (hereinafter, "the Witness") is a necessary and

    material witness to the Special Purpose Grand Jury's investigation. Through both its

    investigation and through publicly available information, the State has learned the

    following information.

 4. The Witness is known to be affiliated with both former President Donald Trump and

    the Trump Campaign.

 5. The Witness served as an aide to the Trump Campaign in the weeks following the

    November 2020 election.

 6. In January 2022, the Witness gave a publicly broadcast interview with MSNBC.

    During the interview, the Witness was asked whether he was involved in a plan

    organized by the Trump Campaign to have individuals purporting to be duly elected

    and qualified presidential electors submit false certificates of vote to former Vice

    President Michael Pence and others. In response to the question, the Witness stated,

    "Yes, I was part of the process, to make sure there were alternate electors for when,

    as we hoped, the challenges to the seated electors would be heard and would be

    successful - part of the 12th Amendment of the Constitution and the Electoral Count
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    Act." The Witness further stated that he acted "under the leadership of Rudy

    Giuliani."

 7. The Witness, based on the above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning the logistics, planning, and execution of

    efforts by the Trump Campaign to submit false certificates of vote to former Vice

    President Michael Pence and others. The Witness possesses unique knowledge

    concerning relevant communications between the Witness, former President Donald

    Trump, the Trump Campaign, and other known and unknown individuals involved in

    the multi-state, coordinated efforts to influence the results of the November 2020

    elections in Georgia and elsewhere. Finally, the Witness's anticipated testimony is

    essential in that it is likely to reveal additional sources of information regarding the

    subject of this investigation.

 8. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 9. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 10. The Witness currently resides in Washington, D.C.

 11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 21, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act
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    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 13. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 14. Both Georgia and the District of Columbia have adopted the Uniform Act to Secure

    the Attendance of Witnesses from Without a State in Criminal Proceedings. See

    O.C.G.A. § 24-13-90; D.C. Code§§ 23-1501 -23-1503.
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       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 2nd day of September, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                                                         )IL
                                                                         1rcuit
                                                            ryor treet Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
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       The District Attorney for the AtlantaJudicial Circuitsubmitted to the judges of the

Superior Cou1tof Fulton CoW1tya requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C.G.A.§15-12-I00(b).

       IT [S THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a period not to ex.ceed12 months. Such period

shall not include any time periodswhen the supervisingjudge detennines that the special

purpose grandjury cannot meet for safety or other reasons,or any time periods when normal

court operations are suspendedby order of the SupremeCourt of Georgia or the Chief Judge of

the Superior Court. The special purposegrandjury shall be authorizedto investigateany and all

facts and circumstancesrelating directly or indirectlyto alleged 1~olationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-10l(a), the HonorableRobert C. I. McBumey is hereby

assigned to supervise and assist the specialpurpose grandjmy, and shall charge said special

purpose grandjury and receive its reports as providedby law,
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       Thia authorization ,hall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.



the Superior Court of Fulto

        SO ORDERED, TH




                                CHRISTOP          S. BRASHER~IEF          JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                     Exhibit B
          Case 1:23-cv-03721-SCJ Document 1-99 Filed 08/21/23 Page 11 of 12



                    OFFICEOF THE FULTONCOUNTYDISTRICTATTORNEY
                               ATLANTAJUDICIAL
                                             CIRCUIT
                            136PRYORSTREETSW,3RD FLOOR·
                                ATLANTA,
                                       GEORGIA30303
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District Attorney                                ,;; -~-
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      Thefionorable ChristopherS. Brasher
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      ChiefJudge, Fulton County SuperiorCourt                                 FILED IN OFFICE
      Fulton CountyCourthouse
          I                     •
      185~entra! Avenue SW, Suite T-8905
                                                                                                    JJ
      Atl~ta, Georgia30303

      January20, 2022

      DearChiefJudge Brasher:

      I hope this letter finds you well and in goodspirits.Pleasebe advisedthat the DistrictAttorney's
      Officbhas receivedinfonnation indicatinga reasonableprobabilitythat the State of Georgia's
      admiriistrationof elections in 2020, includingthe State's eleciionof the Presidentof the United
      States!,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
      associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
      mattei, includingthe GeorgiaSecretaryof State,the GeorgiaAttorneyGeneral,and the United
      States!Attorney'  s Office for the NorthernDistrictof Georgia,leavingthis office as the sole
      agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
      result,;our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      Wehave made efforts to interviewmultiplewitnessesand gatherevidence,and a significant
      numbe~of witnessesand prospectivewitnesseshaverefusedto cooperatewith the investigation
      absent~' subpoenarequiring their testimony.By wayof example,GeorgiaSecretaryof State
      BradRaffensperger,an essentialwitnessto the investigation,has indicatedthat he will not
      participatein an interview or otherwiseoffer evidenceuntilhe is presentedwith a subpoenaby
      my offi'.ce.Please see Exhibit A, attachedto this letter.

      Therefci,re,
                 I am hereby requesiing,as the electedDistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a specialpurposegrandjury be impaneledfor the purpose
      of investigatingthe facts and circumstancesrelatingdirect!y or indirectlyto possibleattemptsto
      disrupt#ie lawfuladministrationof the 2020 electionsin the State of Georgia.Specifically,a
      specialpurposegrandjury, whlch will not have the authorityto return an indictmentbut may
      makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
      reasons:/irst, a special purpose grandjury can be impaneledby the Courtfor any time period
      required,in orderto accomplishits investigation,whichwill likelyexceeda normal grandjury
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 term;second,the special purpose grandjury wouldbe empoweredto reviewthismatterandthis
 matt~ronly, with an investigatoryfocus appropriateto the complexityof the facts and
 circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attemptto
 addr~ssthis matter in addition to theirnormalduties.

 Addi\ionally,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
 CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
 investigationand duties.

 I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
 oftheiCourt.

~speptfult~.    ]J[
   • : \
     . ·. _\.,____~--------
 Fani.W~,
 DJ:strictAttorney,Atlanta Judicial Circuit

 ExhibitA: Transcriptof October31, 2021 episodeof 1\lfeetthe Press on NBC News at 26:04
 (videokchived at https://www.youtube.com/watch?v=B71cBRPgt9k)
 Exhibitl.B:
           Proposed Order

 cc:
 TheHonorableKimberly M. EsmondAdams
 TheHonorableJane C. Barwick
 The HonorableRachelle Camesdale
 The HoztorableThomas A. Cox, Jr.
 The HoqorableEric Dunaway
 The HonorableCharles M. Eaton, Jr.
 The HonorableBelinda E. Edwards
 The HonorableKelly Lee Ellerbe
 The Hon~rableKevin M. Fanner
 The HonorableUral Glanville
        '
 TheHonorable  Shakura L. Ingram
        '
 The HonorableRachel R. Krause
 The HonorableMelynee Leftridge
 TheHonqrableRobertC.I.McBumey
 The HonorableHenry M. Newkirk
 The HondrableEmily K. Richardson
 The HonorableCraig L. Schwall,Sr.
 The HonorablePaige Reese Whitaker
 The HonorableShennela J. Williams
 FultonCounty Clerk of Superior Court Cathelene"Tina" Robinson
